SCOTT KEITH WILSON, Federal Public Defender (#7347)
ROBERT K. HUNT, Assistant Federal Public Defender (#5722)
DAPHNE A. OBERG, Assistant Federal Public Defender (#11161)
OFFICE OF THE FEDERAL PUBLIC DEFENDER
DISTRICT OF UTAH
46 West Broadway, Suite 110
Salt Lake City, Utah 84101
Telephone: (801) 524-4010
Fax: (801) 524-4060

JAMI JOHNSON, Assistant Federal Public Defender
New York State Bar #4823373
OFFICE OF THE FEDERAL PUBLIC DEFENDER
DISTRICT OF ARIZONA

Attorneys for Defendant
______________________________________________________________________________

                         IN THE UNITED STATES DISTRICT COURT
                                   DISTRICT OF UTAH


  UNITED STATES OF AMERICA,
                                                    DEFENDANT’S POSITION WITH
                Plaintiff,                        RESPECT TO PRESENTENCE REPORT

           v.
                                                            Case No 1:18-cr-57-DB
  RON ROCKWELL HANSEN,
                                                             Honorable Dee Benson
                Defendant.


       Defendant, Ron Rockwell Hansen, through counsel, Daphne A. Oberg, files this position

statement under DUCrimR 32-1(b) of the local rules. After reviewing the Presentence Report

prepared by the United States Probation Office, Mr. Hansen does not dispute any sentencing

factors contained in report.

       DATED this 19th day of September, 2019.



                                                   /s/ Daphne A. Oberg
                                                   DAPHNE A. OBERG
                                                   Assistant Federal Public Defender
